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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION


 CHERYL WEIMAR,

                        Plaintiff,

 v.                                                              Case No: 5:19-cv-548-Oc-41PRL

 FLORIDA DEPARTMENT OF
 CORRECTIONS,

                        Defendant.
                                               /

                                              ORDER

        THIS CAUSE is before the Court on the Joint Stipulation of Dismissal with Prejudice as

 to Defendant Florida Department of Corrections (Doc. 211). Pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(ii), the Clerk of Court is directed to close this case.

        DONE and ORDERED in Orlando, Florida on August 25, 2020.




 Copies furnished to:

 Counsel of Record
